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 4   Attorney for:
     JESUS EFRAIN AVILA
 5
 6
 7                        IN THE UNITED STATES DISTRICT COURT
 8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,     )          CASE NO.    Cr. S-08-212 LKK
                                   )
11                  Plaintiff,     )          STIPULATION AND ORDER CONTINUING
                                   )          STATUS CONFERENCE
12        v.                       )
                                   )
13   JESUS EFRAIN AVILA, et. al., )           DATE:    June 8, 2010
                                   )          TIME:    9:15 a.m.
14                  Defendants.    )          COURT:   Hon. Lawrence K. Karlton
     ______________________________)
15
16                                      Stipulation
17           The parties, through undersigned counsel, stipulate that the
18   status conference scheduled for June 8, 2010, may be continued to
19   August 3, 2010, at 9:15 a.m.           The parties agree that time may be
20   excluded from the speedy trial calculation under the Speedy Trial Act
21   for counsel preparation, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) and
22   Local Code T4.      This case involves voluminous document discovery and
23   audio recordings of wire taps. The defense is actively involved in an
24   investigation      and   is   still   reviewing   wire   tap   and   documentary
25   evidence.
26   / / /
27   / / /
28   / / /

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           Case 2:08-cr-00212-TLN Document 415 Filed 06/09/10 Page 2 of 2


 1        The prosecutor has authorized defense counsel to sign this
 2   stipulation on her behalf.
 3
 4   DATED: June 4, 2010               BENJAMIN WAGONER
                                       United States Attorney
 5
 6
                                 by    /s/ Mary Grad
 7                                     Mary Grad
                                       Assistant U.S. Attorney
 8
 9   DATED: June 4, 2010
10                               by    /s/ Scott N. Cameron
                                       Scott N. Cameron
11                                     Counsel for Jesus Efrain Avila
12
                                        Order
13
          Good cause appearing,
14
          The status conference scheduled for June 8, 2010, is continued
15
     to August 3, 2010, at 9:15 a.m.
16
          Time is excluded from the speedy trial calculation pursuant to
17
     18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4 for counsel
18
     preparation through the date of the hearing.
19
20
          IT IS SO ORDERED.
21
22
23
     DATED: June 7, 2010
24
25
26
27
28

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